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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

MATT AUFFENBERG,                                )
and                                             )
JAMES AUFFENBERG JR.,                           )
                                                )
         Plaintiff,                             )
                                                )
vs.                                             )   Case No. 3:23-cv-01887-GCS
                                                )
ADDMI, INC.,                                    )
                                                )
         Defendant.                             )

                 AMENDED SCHEDULING AND DISCOVERY ORDER

     Pursuant to Federal Rule of Civil Procedure 26(f) and SDIL-LR 16.2(a), the Court
amends the Scheduling Order as follows:

      1. Party depositions shall be taken by 6/16/2024.

      2. Motions to amend the pleadings, including the commencement of a third-party
         action, shall be filed by 7/16/24.

      3. Expert witnesses shall be disclosed, along with a written report prepared and
         signed by the witness pursuant to Federal Rule of Civil Procedure 26(a)(2), as
         follows:
               Plaintiff’s expert(s): 7/1/2024.
               Defendant’s expert(s): 8/5/2024.

      4. Depositions of expert witnesses must be taken by:
               Plaintiff’s expert(s): 7/22/2024.
               Defendant’s expert(s): 8/19/2024.

      5. The Mandatory Mediation Session shall be completed by 8/12/2024 (no later than
         30 days before the discovery cut-off).

      6. Discovery shall be completed by 9/17/2024 (no later than 130 days before the first
         day of the month of the presumptive trial month or the first day of the month of
         the trial setting). Any written interrogatories or request for production served after
         the date of the Scheduling and Discovery Order shall be served by a date that
         allows the served parties the full 30 days as provided by the Federal Rules of Civil



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     Procedure in which to answer or produce by the discovery cut-off date.

  7. The Mandatory Mediation Process shall be completed by 9/30/2024 (no later than
     15 days after the discovery cut-off).

  8. All dispositive motions shall be filed by 10/7/2024 (no later than 100 days before
     the first day of the month of the presumptive trial month or the first day of the
     month of the trial setting). Dispositive motions filed after this date will not be
     considered by the Court.

  9. The parties are reminded that, prior to filing any motions concerning discovery,
     they must first meet and confer relating to any discovery disputes and then contact
     the Court to arrange a telephone discovery dispute conference if they are unable
     to resolve their dispute. If the dispute cannot be resolved in the first telephonic
     conference, the Court will establish, with the input of the parties, the mechanism
     for submitting written positions to the Court on an expedited basis.
     IT IS SO ORDERED.
                                                                  Digitally signed by
     DATED: May 8, 2024.
                                               Gilbert C          Gilbert C Sison
                                                                  Date: 2024.05.08
                                               Sison              15:06:10 -05'00'
                                               _________________________________
                                               GILBERT C. SISON
                                               United States Magistrate Judge




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